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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


In re:                         §
                                                            Bankruptcy No. 25-30155
ALLIANCE FARM & RANCH, LLC and §
                                                            Chapter 11
ALLIANCE ENERGY PARTNERS, LLC. §
                                                            (Jointly Administered)
                               §
            Debtors.           §


                       NOTICE REGARDING BANK ACCOUNTS

To TRUIST BANK AND FROST BANK:

       PLEASE TAKE NOTICE that, on behalf of Jerod P. Furr,, the undersigned, you are

advised that Thomas Howley has been appointed by the Court as the Trustee for the bankruptcy

estates of Alliance Farm & ranch, LLC and Alliance Energy Partners, LLC (the "Debtors")

       YOU ARE HEREBY NOTIFIED THAT THE TRUSTEE APPOINTED BY
       THE BANKRUPTCY COURT, THOMAS HOWLEY, HAS THE
       EXCLUSIVE AUTHORITY AND RIGHT TO POSSESS, AND THE
       UNDERSIGNED’S CONSENT, TO TAKE POSSESSION AND EXERCISE
       EXCLUSIVE CONTROL OF ALL FINANCIAL ACCOUNTS AT YOUR
       FINANCIAL INSTITUTION IN THE NAME OF ALLIANCE FARM &
       RANCH, LLC OR ALLIANCE ENERGY PARTNERS, LLC.

       I, Jerod Furr, do hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that I am the sole manager of Alliance Farm & ranch, LLC and the sole manager of Alliance

Energy Partners, LLC and have the corporate authority to issue this notice.

       Respectfully submitted this 13th day of June 2025.

                                                _________________________________
                                                JEROD FURR




                                                PENDERGRAFT & SIMON, L.L.P.

                                                   /s/ Leonard H. Simon



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                                                Attorney for Jerod Furr

                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was duly served
by electronic transmission to all registered ECF users appearing in the case on June 14, 2025.

                                                   /s/ Leonard H. Simon




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